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Jeffrey Lowe (00:00):
And I didn't expect you to, um, my question was something about, have you, I was going to hire, we're
hiring a civil attorney to Sue Joe, just civilly, just to kind of cross our T's and dot our I's. And they asked
me about the, the forgery and the forgery charges. And I said, I don't know, let me, if he says, we'll find
out if, if they're filing charges on it. So I texted Larry Rhodes and I said, do you know what the status is?
Who says, has not been turned into the district attorney? And he says, and I don't know if they'll file
charges or not. So it's like,

Agent Matt Bryant (00:41):
Yeah, I know we elected to let Sheriff Roades and the DA handle the forgery.

Jeffrey Lowe (00:48):
All right. So if so, if they decide not to follow up on it, it's just a dead issue.

Agent Matt Bryant (00:54):
Probably. With the wildlife charges and the murder for hire, the forgery from the federal side close, right
at the very edge of kind of the threshold of what they look at. And if the county was not wanting to do
it, we were going to indict it when we did the initial indictment, I doubt that the Feds will open up a new
case just to indict the forgery stuff.

Lauren Lowe (01:16):
Are they going to help get our money back?

Agent Matt Bryant (01:23):
We need to get Sheriff Rhoades and the DA to look at this. And what they're worried about is this, if
there was a contract between you and Joe and what he could spend money on what he was supposed to
use, the stamp bomb, et cetera. And that would make things a lot better.

Jeffrey Lowe (01:39):
Right.

Agent Matt Bryant (01:41):
But a verbal agreement, Hey, you take care of bills, this and the other and then handle that, I think their
chickenshit. I think they should go with it. But I don't know. And I don't believe Sheriff Rhoades has
really gone to him and pushed him yet because we're just all kind of waiting to see what happens and
with the wildlife and the murder for hire, right?

Jeffrey Lowe (02:01):
Well, you know, w when it gets down to it, if I I'm not even questioning the unauthorized charges, like
the stupid purchases and the, what I went after with those 64 affidavits was purely when he was writing
checks to cash, which he had never in forging my name, you know, all those unauthorized expenses that
would be $80,000 or 64,000 more than the forgery. So

Agent Matt Bryant (02:28):


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All the ones where he actually signs your name and use the stamp, I think, or

Jeffrey Lowe (02:35):
So do I? Yeah, that's the ones. I think that I turned in 64 affidavits, but you know, we've according to
Chelsea and everybody else we've been told several times that Garvin county is just so reluctant to
charge anything. And I know what the other.




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